
PER CURIAM.
Following a protracted evidentiary hearing, appellant failed to "demonstrate both deficiency and prejudice," thus we affirm the trial court's denial of appellant's motion for postconviction relief. See Strickland v. Washington, 466 U.S. 668, 687, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984) ("A convicted defendant's claim that counsel's assistance was so defective as to require reversal ... has two components. First, the defendant must show that counsel's performance was deficient ... Second, the defendant must show that the deficient performance prejudiced the defense."); Krawczuk v. State, 92 So.3d 195, 202 (Fla. 2012) ("[T]his Court has held that for ineffective assistance of counsel claims to be successful, the defendant must demonstrate both deficiency and prejudice.") (citing Bolin v. State, 41 So.3d 151, 155 (Fla. 2010) ).
